Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 1 of 36




                             EXHIBIT G
       Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 2 of 36
                                                                                    1


 1   SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF NEW YORK - CIVIL TERM - PART 57
 2   - - - - - - - - - - - - - - - - - - - - - -X

 3              PEOPLE OF THE STATE OF NEW YORK, BY
                LETITIA JAMES, ATTORNEY GENERAL OF THE
 4              STATE OF NEW YORK,
                                                                      INDEX NUMBER:
 5                                     Petitioner,                    453196/2022

 6                         - against -

 7              VDARE FOUNDATION, INC.,

 8                                 Respondent.
     - - - - - - - - - - - - - - - - - - - - - -X
 9
                                                Virtual Teams Meeting
10              ORAL ARGUMENTS                  New York, New York
                                                January 19, 2023
11

12   B E F O R E :

13
          HONORABLE SABRINA B. KRAUS, JUSTICE OF THE SUPREME COURT
14

15   A P P E A R A N C E S :

16               LETITIA JAMES,ESQ.
                 Attorney General of the State of New York
17               28 Liberty Street
                 New York, New York 10005
18
          BY:    CATHERINE SUVARI, ESQ.
19

20               THE LAW OFFICE OF ANDREW J. FRISCH, PLLC
                 Attorneys for the Defendants
21               40 Fulton Street, 17th Floor
                 New York, New York 10038
22
          BY:    ANDREW J. FRISCH, ESQ.
23

24   ALSO PRESENT:                           YAEL FUCHS

25                                           LORETTA KRAVCHENKO
                                             SENIOR COURT REPORTER
       Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 3 of 36

     P R O C E E D I N G S                                                          2


 1               THE COURT:     Okay.    Good morning, everybody.

 2   Why don't we start out by having the attorneys note

 3   their appearance for the record.

 4               MS. SUVARI:     Sure.    This is Catherine Suvari, Your

 5   Honor.     I am from the AG's office on behalf of the State of New

 6   York.     And I believe my colleague is on, Yael Fuchs, also from

 7   my office as well.

 8               MR. FRISCH:     Good morning.    For the Respondents, VDARE

 9   Foundation, Andrew Frisch, F-r-i-s-c-h.         Good morning.

10               THE COURT:     Okay.    I also have a James Sheehan listed.

11               MR. SHEEHAN:     That's correct, Your Honor.        This is

12   James Sheehan from the Attorney General's office as well.

13               THE COURT:     All right.    I'm going to give you some

14   time to present oral argument on your positions.

15               But before you start there, I want to highlight some

16   things that I'd like to hear from you about during the course of

17   those oral arguments.

18               So, specifically, the Petitioner has argued that the

19   Federal action is not duplicative of this proceeding, because

20   they can't get the relief in federal court that they are seeking

21   in this proceeding.

22               And I did not see Respondent address that argument at

23   all.     So I would like Respondent to advise whether they dispute

24   that that's correct.

25               And if they to do dispute that that's correct, I would
       Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 4 of 36

     P R O C E E D I N G S                                                          3


 1   like each side to tell me what the legal authority is behind

 2   their position on that point.

 3               I would also like to know whether the Respondent asked

 4   the federal court to stay this action or proceeding.

 5               And then Petitioner's Order to Show Cause seems to

 6   request a blanket order compelling compliance with the subpoena.

 7   But, in the papers Petitioner seems to acknowledge that some

 8   carve outs or sections are appropriate, for example, they ask

 9   about the redaction log.       There are other carve outs or

10   acknowledgements of adjustments made to the Petitioner that the

11   Petitioner acknowledges may be appropriate.

12               So I may request Petitioner to send me a proposed

13   order at the conclusion of this, because it's not clear from the

14   Order to Show Cause specifically what order they are requesting

15   from the Court.

16               And then, finally, I would like the Respondent to

17   address whether a confidentiality agreement or order might not

18   cover their concerns about donors or contractors or vendors

19   being disclosed, and suffering negative business consequences as

20   a result of that.

21               So having said that, I'm going to let the Petitioner

22   go first.

23               MS. SUVARI:   Thank you, Your Honor.       This is Cate

24   Suvari again.     I'd like to start, if I can, with some basics

25   about who we are and exactly what is going on so the context for
       Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 5 of 36

     P R O C E E D I N G S                                                          4


 1   these arguments is as clear as possible.

 2               The Attorney General began this proceeding to enforce

 3   a Civil Pre-Complaint Investigative Subpoena that it has issued

 4   to the VDARE Foundation.

 5               And VDARE is a New York formed not-for-profit

 6   corporation, whose stated charitable mission is to create and

 7   manage an internet publication housed at VDARE.com.

 8               The Attorney General's review and its subpoena to

 9   VDARE last summer followed from public reports that VDARE had

10   spent roughly $1.4 million in charitable assets to buy a castle

11   in West Virginia that its chairman promptly moved his family

12   into.

13               The Attorney General reviewed public reports of that

14   transaction, and examined VDARE's regulatory filings with this

15   office; And in that process identified significant control

16   issues that formed the focus of this investigation.

17               And that sequence is reviewed in detail in the Fuchs'

18   affirmation that was submitted in support of our petition, which

19   is Docket No. 4, beginning at page 5.

20               Our subpoena seeks categories of documents and

21   information that are related to VDARE's governance, and to its

22   financial operation as a New York not-for-profit.

23               There are several features of our subpoena that we

24   think are especially important to note.        The first is that

25   regulatory compliance is a mandatory rule.         And the issue of
       Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 6 of 36

     P R O C E E D I N G S                                                          5


 1   should we choose to subpoena or not are not in dispute here.

 2               They are incorporated in New York roughly 25 years

 3   ago.

 4               It registers with the Attorney General's Charities

 5   Bureau to operate and solicit in New York, and has been doing

 6   that for roughly 15 years.

 7               And it does not dispute the Attorney General's

 8   authority to regulate not-for-profit corporations generally, or

 9   VDARE in particular.

10               The Attorney General also served it's investigative

11   subpoena pursuant to very well-established subpoena authority

12   that VDARE also does not dispute.

13               The Attorney General's subpoena in a proceeding like

14   this is entitled to a presumption of good faith.

15               So VDARE, as the subpoenaed party, bears the burden of

16   demonstrating that our office's subpoena should not be enforced.

17               VDARE has not moved to quash or modify the subpoena in

18   roughly six months between service and the start of this

19   proceeding.

20               VDARE has also partially complied with the subpoena

21   for months; and that's something that is discussed in our

22   submissions and VDARE's.       It has produced roughly 6,000 pages of

23   material already.

24               And it has insisted throughout and insists again

25   through it's submissions to this Court that it intended to fully
       Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 7 of 36

     P R O C E E D I N G S                                                          6


 1   comply.   There is no record of harm to VDARE during that process

 2   before this Court.

 3               The reason that we are here now is because of the

 4   delay in the production process, and VDARE's decisions about

 5   withholding material that might otherwise be responsive have

 6   required us to seek the Court's intervention to obtain

 7   compliance with our subpoena.

 8               And the Attorney General's office specifically warned

 9   VDARE that it would pursue that relief if needed in a letter

10   that was sent to VDARE on December 2nd.        That fact is very

11   significant under the case law that is cited in both our

12   briefing and VDARE's regarding this Court's consideration of a

13   discretionary dismissal.

14               Specifically, what has been happening in the

15   production in the last six months, it began in late September,

16   VDARE had asked for and received multiple extensions from our

17   office in the summer of 2022, and began producing at the start

18   of the fall.

19               But by October, they had begun setting increasingly

20   later deadlines, and missing those deadlines along the way.

21               The final date by which VDARE had proposed to complete

22   production, and that's the September 12th date, it opted to sue

23   our office instead.

24               The sequence of exchanges from summer through fall,

25   and our response to VDARE's request for extension is reviewed in
       Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 8 of 36

     P R O C E E D I N G S                                                          7


 1   detail in our office's December 2nd letter to VDARE's counsel.

 2   That is attached to Exhibit Y to the Fuch's affirmation, which

 3   is Docket No. 29.       And VDARE does not dispute that chronology.

 4               I think it's important to emphasize that VDARE could

 5   have asserted constitutional concerns with the subpoena at

 6   anytime from July of last year forward.

 7               It is only when VDARE was threatened with a Motion to

 8   Compel by our office that they alleged that our investigation

 9   was, in fact, protectoral or baseless.

10               There are also particular problems with the material

11   that has been produced to date.       The first is the redactions

12   that Your Honor mentioned already.       VDARE has extensively

13   redacted the hardcopy material that it has produced.

14               And it has repeatedly declined to produce a log that

15   would identify to our office, even in broad strokes, the

16   categories of material being redacted and the legal bases for

17   those redactions.       You can see our office's request for that log

18   in the letter back and forth that is attached to the Fuch's

19   affirmation.

20               In our view it's very significant that when given an

21   opportunity to explain its redactions and its objections to the

22   request for a log in this proceeding, VDARE has chosen only to

23   argue that the proceeding should be dismissed, because it filed

24   in federal court four days earlier, and because it views the

25   subpoena as the retaliatory pretext.
       Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23     Page 9 of 36

     P R O C E E D I N G S                                                            8


 1               VDARE has also, separately from the redaction

 2   question, identified an enormous volume of electronic material

 3   that may be responsive to the subpoena.        VDARE first set that

 4   estimate at the end of October, that's the 40 gigabytes of

 5   potentially responsive ESI material.       And it has not produced

 6   anything from that source in two-plus months since.

 7               So considering this proceeding and our office's

 8   request from the Court, the standard of review here has been

 9   very well established.

10               Court review of agency investigative subpoenas like

11   ours is very differential.      The Court looks for a reasonable

12   basis for the investigation, and reasonably targeted demands;

13   both are met here.

14               The basis for our investigation is outlined in our

15   supporting materials, and, frankly, not disputed.               The facts

16   that have prompted our review are not really in dispute in any

17   of VDARE's submissions either.

18               Our investigation is targeting conduct of a New York

19   not-for-profit corporation that may be unlawful under New York

20   Non-Profit Law; not constitutionally protected speech at

21   VDARE.com; and not the social-associational activity by VDARE's

22   supporters.

23               And our subpoena's requests have been very carefully

24   drafted to identify documents and information that are relevant

25   to that review only.     So we did not call for material or
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 10 of 36

     P R O C E E D I N G S                                                          9


 1   information related to VDARE's location at VDARE.com.

 2               And we have not asked for identifying information

 3   about anonymous VDARE contributors or identities, for example.

 4               What we are asking is material and information about

 5   VDARE's governance; about its internal controls; about its

 6   spending; about its compensation practices; financial controls;

 7   and financial transactions.

 8               Typically, those are all topics that are squarely

 9   within the realm of what our office is responsible for reviewing

10   at an organization like VDARE.

11               With respect to the question of whether our disclosure

12   demands are proper, including VDARE's constitutional concerns,

13   those issues can and should be addressed in this proceeding.

14   This Court is fully empowered to consider any constitutional

15   concern raised by the subpoena.

16               And, in fact, the same federal court that VDARE has

17   asked to join enforcement of the subpoena, the Northern District

18   of New York said as much just last year.

19               And that case, which is Trump versus James, is cited

20   in our opposition to VDARE's Motion For Dismissal, which is at

21   Docket No. 55.

22               VDARE has not addressed in any of its submissions the

23   availability of full relief for both parties through this court.

24   And it has not identified any barrier to asserting

25   constitutional arguments here.      Instead, it is asking only for
      Case 1:22-cv-01337-FJS-CFH    Document 35-7   Filed 04/10/23   Page 11 of 36

     P R O C E E D I N G S                                                         10


 1   deference to the action that it filed.

 2               I'd like to address, if I can, the standard for a

 3   discretionary dismissal.       I think the first and critical point

 4   is that dismissal in the case of two simultaneous actions under

 5   CPLR 3211 is discretionary.        The Court may dismiss, but need not

 6   dismiss in deference to a first-filed matter.

 7               THE COURT:    I'm going to stop you, I'm going to ask

 8   you to move on.     I'm not really inclined to dismiss.          If

 9   anything, I would be inclined to stay.         So I don't think you

10   needs to spend a lot of time on the discretionary dismissal.

11               MS. SUVARI:    The last thing I'd like to turn to, if I

12   can, is whether a first amendment harm has actually been shown

13   here.   And it's argued that there is no showing of harm in front

14   of the Court.

15               VDARE has sought in its exchanges with us to

16   unilaterally withhold some universe of unidentified material

17   based on its own, you know, general reference to confidential

18   content at VDARE.com, and its own assertion that disclosure

19   would be problematic for VDARE's operation as a not-for-profit

20   corporation.

21               THE COURT:    Right.

22               MS. SUVARI:    In looking at what has been held, their

23   redactions sweep very broadly; and this is something that's also

24   reviewed in our papers.       The categories of material that are

25   being covered, and I think we've itemized some of them:               Board
      Case 1:22-cv-01337-FJS-CFH    Document 35-7   Filed 04/10/23   Page 12 of 36

     P R O C E E D I N G S                                                       11


 1   meeting Minutes; bank statements; accounting ledgers, things

 2   like that.    None of those are connected to protected First

 3   Amendment speech, for example.

 4               And without access to that kind of material it is

 5   impossible for our office to conduct the review that it has

 6   undertaken which looks at spending, conflicts of interests,

 7   governance controls at an organization that we are responsible

 8   for regulating.

 9               THE COURT:    Right, but aren't they really arguing that

10   the whole reason that you're investigating them is because of

11   their unpopular speech or positions, and they tie that into the

12   Attorney General's public pronouncements about wanting to go

13   after hate crimes and perpetrators of hate speech?

14               MS. SUVARI:    They are asserting that, Your Honor.

15               But it's our position, Your Honor, that there's no --

16   first of all, that this is a lawful investigation with a

17   reasonable basis, of course.       And there is no showing of any of

18   the kind of connections that they are alleging in the record

19   before this Court.       And, in fact, in our view the subpoena on

20   its face demonstrates that that's not what we're looking at

21   here.

22               And I think it's important also to emphasize that we

23   have been responsive to concerns expressed by VDARE during our

24   back and forth with them about what will be produced and when.

25   So in the very first weeks after serving the subpoena, we were
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 13 of 36

     P R O C E E D I N G S                                                      12


 1   in touch with Counsel for VDARE to clarify that we were not

 2   looking for, for example, anonymous donor identifying --

 3   anonymous donor information.      We were not targeting

 4   speech-related activity at VDARE.

 5               And we have really only insisted in the course of the

 6   production process that VDARE identify and log the material that

 7   it's choosing to withhold.      And, also, to explain the bases for

 8   that withholding in a more specific way than just, you know, we

 9   have constitutionally-significant interests that are being

10   intruded upon.

11               So it's our position that the response that we've

12   gotten so far is inadequate; it's inconsistent with what the

13   CPLR requires.     And we have been forced to come to the court to

14   press that position, and to clothe compliance with the subpoena

15   that we believe that, clearly, it's in our authority to issue.

16               THE COURT:    Mr. Frisch.

17               MR. FRISCH:    Thank you, Your Honor.      Thank you.

18               Let me just start by echoing something that Your Honor

19   said about the remedy that we seek.       While I don't want to

20   prejudice my client's position by talking about the law of a

21   discretionary dismissal, at the same time I agree that if the

22   Court issues a remedy to VDARE here, it should be just a stay,

23   not dismissal.

24               The Attorney General has identified in its papers

25   certain arguments that it's going to be making in federal court.
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 14 of 36

     P R O C E E D I N G S                                                      13


 1   It filed its Motion to Dismiss yesterday, and I haven't had a

 2   chance -- I looked at the papers briefly, they were filed

 3   yesterday after six.

 4               If they are right that there's no basis for a Federal

 5   suit, if they are right -- They say that they believe Judge

 6   Scullin in Albany will agree with them, then he'll grant a

 7   dismissal and we'll be back.

 8               But I think the right remedy -- and I will talk about

 9   the specifics in a moment -- The right remedy here, and the

10   remedy I'd urge the Court to fashion, is simply to stay this

11   pending litigation on the Attorney General's Motion to Dismiss,

12   and see what happens.     There will be no prejudice if we take a

13   little bit of time to see that play out.

14               And what we're seeking in that suit is that this has

15   become -- It is clear to us, at least, while we had suspicions

16   initially at least that this was retaliatory, unconstitutionally

17   retaliatory.    It is the Attorney General's letter, the December

18   2nd letter, which changed the landscape and precipitated the

19   Federal suit.     We could have brought a federal suit earlier.

20   But it was the December 2nd letter and the positions taken,

21   which I'll talk more about in a moment, that was the triggering

22   event for the federal lawsuit.

23               So let me talk about some of the specifics.          So, first

24   of all, the Attorney General in their papers has challenged the

25   first filing rule as inapposite.      But we're not seeking -- and
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 15 of 36

     P R O C E E D I N G S                                                      14


 1   this is at least today -- Well, we put in our papers that we're

 2   seeking a stay, not dismissal, so that's one.

 3               Second, this is not a commercial litigation where one

 4   party is seeking an unfair tactical advantage by suing a

 5   commercial litigant in an inconvenient forum.

 6               This is federal and state, Albany and Manhattan.            And

 7   we are alleging claims under the Federal Constitution, and the

 8   State Constitution.

 9               So even if this Court, even if the State Court were to

10   resolve federal constitutional claims against us, we would still

11   have the option of going to federal court.

12               So our view is that this is a more efficient and

13   appropriate way to deal with the overarching issues.

14               Look, I understand that on its face what Ms. Suvari

15   has said about what the subpoena looks like on its face, but

16   some context is relevant.

17               And it's not just the Attorney General's stated

18   position.    It's that the letter of December 2, which in my view

19   was somewhat heavy handed -- And I'll talk about the specifics

20   in a moment -- is the day before, December 3rd, the effective

21   date of the hate crimes, the hate conduct statute.

22               It seems to me that there's a lot of things here that

23   lawyers can -- should be able to deal with, they should be able

24   to work out things like the identities of a contract.

25               THE COURT:   Can I interrupt for one moment.
      Case 1:22-cv-01337-FJS-CFH    Document 35-7   Filed 04/10/23   Page 16 of 36

     P R O C E E D I N G S                                                       15


 1               Does anybody know the NYSCEF document number for the

 2   December 2nd letter?

 3               MR. FRISCH:    It's Exhibit G.

 4               THE COURT:    I didn't hear what you said, sir.

 5               MR. FRISCH:    It's Exhibit G, and I believe that it's

 6   NYSCEF 34.    I think I might have --

 7               MS. SUVARI:    It's also an exhibit to our information,

 8   Your Honor, at Docket 28.

 9               THE COURT:    Thank you.    Please continue.

10               MR. FRISCH:    Thank you.    So I think the kind of things

11   that we are talking about now in terms of substance of the

12   subpoena are the kind of things that lawyers can work out.

13               I'm going to talk first about the identity of

14   contractors, timing and redaction log, and I'll try and do it as

15   concisely as I can.       We've identified payments to contractors.

16   We've identified services rendered.        And we've identified

17   contractors that might qualify as so-called related parties

18   under, I believe, Section 715 of the New York Not-For-Profit

19   corporation law.

20               We've proposed a middle ground that, you know, we just

21   give them the related parties for now and a full reservation of

22   rights.   But we ended up -- Even after they rejected that middle

23   ground proposal, we gave it to them anyway.

24               And the proposal was, essentially, let us deal with

25   these contractors given the unusual landscape of our position as
      Case 1:22-cv-01337-FJS-CFH    Document 35-7   Filed 04/10/23   Page 17 of 36

     P R O C E E D I N G S                                                       16


 1   we go forward.     You don't have to, you know, give up anything,

 2   reserve your rights.       Let's just take it a step at a time and

 3   finish the production, and see where we are.

 4               If there's a particular need or a particular interest

 5   in the identity of a particular contractor beyond the related

 6   party ones, well, let's talk about it.          But that's not --

 7               THE COURT:    But that seems to be completely opposite

 8   to your conduct of filing the Federal suit.

 9               MR. FRISCH:    Well, I'll come to that.        I'll come to

10   how I think December 2nd changed the landscape.

11               Look, one of things the Attorney General says in their

12   papers is that there's no real no concern about the identity of

13   these contractors, that's not true.        It is a matter of public

14   record that entities like Amazon and PayPal and others have

15   deplatformed VDARE.       Others have declined to work with them.

16               Just two weeks ago there was an article in the

17   Washington Post in which some local business people, I think one

18   was a chef, one was a proprietor of a local store, with a

19   subject of public ridicule, and the comments to the article.               So

20   this is a real concern.

21               Before I get to the December 2nd letter, let me talk

22   about timing to the redaction letter.          And I've said this,

23   right, when I came into the case in September, I went to their

24   office and met with them.       And I told them at the time that my

25   direction to the client is to comply; I'm new to the case; I'm a
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 18 of 36

     P R O C E E D I N G S                                                        17


 1   solo practitioner; I have competing court commitments; and that

 2   I'm a person of good faith.

 3               My client is literally a mom-and-pop operation.              They

 4   have three kids who they home school.         In order to look at the

 5   hardcopy documents, they had to get boxes out of their garage

 6   and out of storage.     One of them was waterlogged, I had to let

 7   it dry before I could go through it.

 8               The only thing we've redacted, with the exception of

 9   one or two attorney-privileged things, are the identities of

10   these contractors, that's it.      Nothing else has been redacted

11   from this, other than, again, in those one or two instances.

12   And we've put that in writing time and time again.

13               So I don't understand what the Attorney General's

14   position is that we haven't explained the redactions.            If

15   there's a particular page or multiple pages -- I don't think

16   this is so, but I understand.

17               If there's something that is not clear to them or they

18   can't read something or they are not clear, they can just pick

19   up the phone for me.

20               I wish I could have done all of this faster.           You

21   know, I set for myself in good faith ambitious deadlines.                I

22   don't think it's productive for either side to have to burden

23   this Court with a Motion about timing.

24               You know, I'd like to think that we are all lawyers

25   acting in good faith.     And they know that, especially because I
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 19 of 36

     P R O C E E D I N G S                                                       18


 1   completed the hardcopy, and completed the non-e-mail electronic

 2   production.    And I'm doing my best.     There's 40 gigabytes, I'm

 3   reviewing all of this myself.      I'm not a law firm.

 4               And, yes, I could have done it faster.         And maybe I

 5   was wrong to set ambitious deadlines, but I did as a way of

 6   showing good faith.

 7               And let me talk about the redaction log.           Redaction

 8   logs, at least in my experience, come after the production is

 9   complete, which makes perfect sense here.         Because as I've gone

10   forward -- When I first looked at the first batch of documents,

11   I redacted things that as I went forward and had a greater

12   understanding of the matter and the case, I decided going

13   forward that I'm not going to redact those names anymore.

14   Either they are already within the public view, or with regard

15   to employees I have not redacted them going forward.             Needless

16   to say, we're --

17               THE COURT:    Let me just stop you.

18               A moment ago you said the only thing redacted was

19   contractors.

20               Now, you're saying that there were employees also

21   previously redacted?

22               MR. FRISCH:    Initially, that's right.       But, as we've

23   gone forward --

24               THE COURT:    So then your statement that the only thing

25   redacted was contractors was not accurate?
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 20 of 36

     P R O C E E D I N G S                                                      19


 1               MR. FRISCH:   It's not accurate to the extent that

 2   there were a few hundred pages very early on that have some

 3   redaction of those employees.      So as I've gone forward, I have

 4   not redacted those names.

 5               So I stand corrected, Judge, you're right about that.

 6               So, in any event, redaction logs come later.           It is --

 7   they characterize my good-faith basis to -- They made an

 8   invitation to do a rolling production; I'm doing that, I'm

 9   moving forward.

10               So as I've gone forward I am not redacting things, as

11   we discussed, that I've redacted earlier.         That's not haphazard,

12   that's just a function of doing a rolling production, and trying

13   to get through a massive amount of material.

14               And I think at this point given the nature of the

15   redactions it's -- And to have to do a privilege log while I'm

16   still going through 40 gigabytes of e-mails is unreasonable;

17   it's an unreasonable demand.

18               Here is the problem:    I understand that they are

19   entitled to apart from the issues that have arisen at least as

20   of December 2nd, to issue a subpoena.         We didn't challenge the

21   subpoena.

22               I also offered to go in and begin a conversation, not

23   to bind anyone but to begin a conversation about their

24   regulatory concerns.      All of which I believe, including the

25   castle, can be addressed.      And I understand that they are not
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 21 of 36

     P R O C E E D I N G S                                                      20


 1   going to want to resolve anything until they get more documents.

 2               But I offered to go in and begin that conversation,

 3   and start walking them through why I do not believe these are

 4   regulatory concerns.     They rejected it.     They have a right to,

 5   they don't have to do it that way.

 6               Their position on December 2nd changed the landscape

 7   in my view, and gave us cause to go to federal court and put the

 8   brakes on this.     And say, Look, the only thing that we're

 9   redacting with the exception of some employees' names early on,

10   just a handful of them, are the names of these contractors which

11   we don't want to disclose.      Which even to the Attorney General,

12   and even with confidentiality, in our view it requires a

13   different level of scrutiny because of the particular landscape

14   where not only are contractors and conference venues reluctant

15   to have their association with VDARE public, but we've cite in

16   our papers an instance where confidential information,

17   apparently, was provided to the Attorney General in another

18   case, and found it itself in the public sphere.           That is also a

19   concern, and the Attorney General has not addressed that.

20               I think that -- You know, we didn't move for a stay of

21   this proceeding, we could have.      I suppose we could still could,

22   if need be.    But our hope was that if we go to federal court,

23   and were heard on these issues that we can figure this out, and

24   simply see where we are with the federal case.

25               The December 2nd letter, I want to go back to that
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 22 of 36

     P R O C E E D I N G S                                                      21


 1   because it took us by somewhat -- It took us by surprise, and it

 2   certainly changed the landscape for us.

 3               Because while we were making the hardcopy production

 4   and working on the e-mails, and trying to complete production,

 5   they essentially said, You have 10 days.        Notwithstanding that

 6   the Attorney General asked me to put it in writing again, which

 7   I had already done.     Put in writing your objection to the

 8   identity of contractors; and I did it again.

 9               And I feel that was kind of a setup because as soon as

10   I put it in writing, they said, Well, December 2nd, you have 10

11   days, until December 12th to get us a complete redaction log,

12   and finish going through the 40 Gigabytes of e-mails.

13               It's not -- In my experience, this is not the way

14   these types of investigations go.       None of us may be happy with

15   the day-to-day progress of an investigation with compliance or

16   of compliance, but the parties work it out.

17               They work out things like a particular entity's

18   concern about the identity of contractors.         You get some now,

19   and if there's an issue you deal with it later.           You deal with

20   issues of timing when you have these circumstances.            I'm a small

21   outfit, a solo-practitioner on what really is a major project.

22               And you deal with a redaction log, if you need it,

23   later on.    Meanwhile, if you can't read something, call me; I'm

24   an approachable guy.

25               I want to be sure that I responded to the questions
      Case 1:22-cv-01337-FJS-CFH    Document 35-7   Filed 04/10/23   Page 23 of 36

     P R O C E E D I N G S                                                       22


 1   that Your Honor mentioned upfront.

 2               THE COURT:    So you haven't really responded to the

 3   first question which is Petitioner's claim that the federal

 4   court can't order enforcement of the subpoena, and, therefore,

 5   the action is not duplicative and shouldn't be stayed.

 6               MR. FRISCH:    Well, first of all, the issue -- Number

 7   one, I have not looked at their Motion to Dismiss.              I haven't

 8   looked at their papers.       And I haven't had a second to -- I

 9   haven't even had a moment to digest them.

10               But the over arguing point is that our claim is that

11   the investigation, their conduct of it as of late has revealed

12   it to be unconstitutionally retaliatory.

13               Before we go forward, before we start talking about

14   providing responsive documents that contain the identities of

15   contractors, which we believe is a problem which will serve and

16   contribute to helping to put us out of business, and that we

17   shouldn't have to disclose absent a need.

18               I think the federal judge needs to review the

19   Complaint, and make a determination whether the Attorney General

20   is correct that the claim, as the papers say, is frivolous; I

21   disagree with that.

22               THE COURT:    Wait.

23               So I want that question specifically answered, so you

24   are -- It sounds to me like you are conceding that they are

25   correct that they can't get enforcement of the subpoena in
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 24 of 36

     P R O C E E D I N G S                                                      23


 1   federal court.

 2               MR. FRISCH:    I disagree with that because I think that

 3   there's a number of things that could happen in federal court.

 4   I need to look at their papers first.         My --

 5               THE COURT:    Well, those arguments were made in the

 6   papers filed in this case for VDARE.

 7               I mean, I, obviously, haven't read the Motion to

 8   Dismiss in the federal court case.       So I'm just addressing

 9   myself to the argument that they raised in opposition to your

10   Motion For Dismissal or a stay.

11               MR. FRISCH:    I think that we cannot deal with their

12   compliance arguments until there's an initial determination or a

13   determination as to whether our claims of unconstitutional

14   retaliation are resolved.

15               THE COURT:    But you concede that the federal court

16   could not order compliance with the subpoena?

17               MR. FRISCH:    I'm not sure that I concede that.

18               I think that a federal court could address whether or

19   not our claim of -- and maybe -- I'm not trying to talk past

20   your question.     Just bear with me and let me talk out loud what

21   I'm thinking, and then we can back up.

22               So here is what could happen:      The federal judge could

23   say, You know what they are making compliance, here is what I'm

24   going to do:     I think they're right, I reject your claim of

25   Unconstitutional Retaliation.      But I agree with you that there's
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 25 of 36

     P R O C E E D I N G S                                                      24


 1   a claim that there's a higher level of scrutiny in identifying

 2   these contractors absent a need.

 3               So in that instance, essentially, while it may not be

 4   an actual Compulsion Order, essentially the effect of it would

 5   be that a Federal Judge is saying, This is protected.            The

 6   disclosure of the identities of these contractors is protected.

 7   Even though, again, hypothetically, I reject your claim of

 8   Unconstitutional Retaliation.

 9               So that may not be a specific direct answer to Your

10   Honor's question, but I think practically that's how it would

11   play out, or it could play out I should say.

12               THE COURT:    You said that you didn't ask for a stay of

13   this case in the federal court case.

14               Was there a request for an initial stay of enforcement

15   of the subpoena with your initial filing, like a TRO type of

16   request pending?

17               I mean, I know that there was a motion pending for

18   that.   But was there any kind of request to stay an enforcement

19   of the subpoena pending a termination of the Motions?

20               MR. FRISCH:    The answer is no.    There's injunctive

21   relief sought in the Complaint, but not in TRO.

22               THE COURT:    Okay.   Ms. Suvari, do you want to respond

23   to anything?

24               MS. SUVARI:    I do just want to respond quickly, if I

25   can, Your Honor.
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 26 of 36

     P R O C E E D I N G S                                                      25


 1               First, in giving you the document, the critical

 2   December 2nd letter --

 3               THE COURT:    I have it.

 4               MS. SUVARI:    -- it is said Docket No. 29.

 5               And I think the letter is significant for two reasons.

 6   One, it does recite in some detail our exchanges with VDARE.              It

 7   includes, for example, a paragraph, you know, reaffirming that

 8   we have been discussing redactions and VDARE's approach to

 9   asserting protections for months.

10               And that we have now come to a point, as of December

11   2nd, where we need to see some more specific articulation of

12   exactly what was being withheld.

13               And that's based in part on what we had seen by them

14   in their actual production.      And there is a whole resuscitation

15   of what appeared to have been redacted that was a far afield of

16   particular contractor names, for example, if that, in fact, is

17   the primary concern.

18               But the other thing that's significant about this

19   letter is that it responds to the letter from VDARE on November

20   28th, which proposed the December 12th production deadline.

21   That is a deadline that came from VDARE, not from our office.

22               And if you read through back and forth in October and

23   November, you can see that VDARE is proposing deadlines, missing

24   its own proposals, and proposing new deadlines.

25               And then, finally, on November 28th says, and this is
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 27 of 36

     P R O C E E D I N G S                                                        26


 1   at Docket number 28, I am working through the ESI material.              I

 2   propose to complete production of that material by December

 3   12th.

 4               So our letter on the 2nd essentially agrees to that

 5   plan, insists that redaction log be prepared at the same time.

 6   And then it says at the end, If this new deadline is not met, we

 7   will seek relief in court to enforce the subpoena.

 8               So it's not a change in the landscape.         It is not, you

 9   know, a sudden change of position from our office.             It is,

10   essentially, you know, a final warning that we cannot continue

11   to watch the target of an ongoing investigation make sort of

12   unilateral decisions about what will and will not be shared

13   within categories of material that we view as very relevant to

14   the questions we're investigating about:        The financial

15   operation of this corporation; the potential of related-party

16   conflicts, and things like that.

17               And it signals that we will come to court if we need

18   to.     And, in fact, this proceeding, this formal proceeding is

19   exactly the mechanism for seeking enforcement of a subpoena.                 It

20   is perfectly capable of considering constitutional issues under

21   the New York Constitution or the Federal Constitution.

22               So it offers complete relief on all of these questions

23   to both parties in a way that federal court does not.

24               And I do also want to clarify that what VDARE is

25   saying in the Federal action is not that, you know, the subpoena
      Case 1:22-cv-01337-FJS-CFH     Document 35-7   Filed 04/10/23   Page 28 of 36

     P R O C E E D I N G S                                                        27


 1   should be modified.        It is saying that the entire investigation

 2   should, effectively, be enjoined.         So that is a very different

 3   position than what's is being discussed today, which is largely

 4   a discovery dispute in our view.

 5               THE COURT:     And, specifically, the order that you're

 6   asking for from the Court then is that -- Are you asking them to

 7   -- Are you asking me to order them to do what they said they

 8   were going to do in the letter that you responded to on 12/2?

 9               MS. SUVARI:     Your Honor, we have asked in our petition

10   for an Order compelling compliance; and that's a very broad

11   request.

12               THE COURT:     Right.

13               MS. SUVARI:     I think we would be perfectly prepared to

14   send in a more specific order.

15               What we are really looking for is judicial supervision

16   because we find ourselves in a position of -- I don't know,

17   constantly having a back and forth about deadlines; and watching

18   the subject of our investigation fail to meet those deadlines

19   again and again.        So we're looking for some structure and some

20   enforcement of those commitments.

21               Also, I do want to offer that we would be happy to

22   submit our briefing, our recent briefing in the federal court

23   case, for the Court's review if that would be helpful.               So then

24   you can see our positions with respect to the availability of

25   any relief to be there in that action.
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 29 of 36

     P R O C E E D I N G S                                                      28


 1               THE COURT:    Okay.   So I'm going to reserve decision.

 2               I would like the Petitioner to submit -- If it's

 3   possible to do this today, I would appreciate that -- to submit

 4   a proposed order that's more specific than the broad relief

 5   that's requested in the Order to Show Cause.

 6               And Mr. Frisch, I'm going to ask you, also, to submit

 7   a proposed order, not staying it, because obviously that's not a

 8   complicated order to issue, but if I were going to order

 9   enforcement of the subpoena, what would you like that order to

10   look like?    What carve outs or protections to your clients would

11   you like to see in such an order?       So if you would submit a

12   proposed order along those lines.

13               And then if the parties want to submit to me the

14   Motion papers that have been filed in the federal court action,

15   certainly, I'd be happy to read that.

16               So you could either file all of this on NYSCEF, and/or

17   you can e-mail it to my court attorney.        I don't know if you

18   have her e-mail address.

19               MS. SUVARI:    I'm sure we could find it, Your Honor, if

20   you could tell us who that is.

21               THE COURT:    I'll give it to you.     It's Tara Tszap,

22   it's T-s-z-a-p, @Nycourts.gov.

23               MR. FRISCH:    And you said T-s-z-a-p, Your Honor?

24               THE COURT:    Correct.

25               I mean, I will look on NYSCEF, but I don't get a
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 30 of 36

     P R O C E E D I N G S                                                       29


 1   verification when you file stuff on NYSCEF.

 2               MR. FRISCH:    Your Honor, would you permit me to make

 3   one comment in response to Ms. Suvari's rebuttal?

 4               THE COURT:    Sure.

 5               MR. FRISCH:    The only thing I want to say is -- Well,

 6   there's probably more than one thing, but I don't want to

 7   overstay my welcome.

 8               Ms. Suvari wove into her discussion that the

 9   identities of contractors are necessary or part of their

10   investigation.     And I think given the landscape of the case,

11   given the particular things that are happening in the real

12   world, at the very least we think the matter should be stayed to

13   see where we are with the federal case.

14               But, at the very least they should be required to

15   explain why that is; why the identity of non-related contractors

16   is necessary.     There might be a particular instance where they

17   have concerns about the amount of money paid, or they think it's

18   a related party or something else that I can't think of.             But,

19   that's the heart of controversy.

20               And I just want to state again, apart from Your Honor

21   called me on the fact that there were some employee's names

22   initially redacted, I think it's been reviewed, ultimately, they

23   will be unredacted going forward.       If we continue, I'll have to

24   go back and unredact them.

25               But the only redactions, apart from one or two
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 31 of 36

     P R O C E E D I N G S                                                        30


 1   attorney-client things and the Board Minutes are identity of

 2   contractors, and not all of them.       Just ones that are already in

 3   the public sphere, or for which there are otherwise confidential

 4   concerns.    And it's a real issue, it's a genuine issue with

 5   regard to VDARE.

 6               THE COURT:    I don't mean to continue this,

 7   necessarily, but I really don't -- Normally, I mean, it's very

 8   typical when these kinds of concerns are present for the parties

 9   to enter a confidentiality agreement which would cover the

10   Respondent's concerns, and provide for remedy in the event that

11   there was -- you know, you said there was one case where you

12   believe that there was a leak from the AG's office.            But a

13   confidentiality agreement or order would provide your client

14   with, you know, a redress for that, or it would certainly, you

15   know, be something that the Court would take very seriously if

16   there was an allegation that such an order was breached.

17               MR. FRISCH:    The problem is that I don't understand

18   why they need to know the identities of these contractors.              As

19   soon as they reach out to them, or as soon as they take any

20   step, and they haven't answered the question about the leaking

21   and the other investigation, it could literally put VDARE out of

22   business.    There are sub-service providers where they have been

23   deplatformed to such an extent.      And there's just a limited

24   number -- and like in one instance that I'm thinking of, one.

25   But in all of these instances, there are limited service
      Case 1:22-cv-01337-FJS-CFH     Document 35-7   Filed 04/10/23   Page 32 of 36

     P R O C E E D I N G S                                                        31


 1   providers out there.       It's not as if they can turn and go to the

 2   next, and go to the next.        And even that is time consuming and

 3   difficult.

 4               Sorry if I'm overstaying my welcome, Your Honor; I

 5   don't want to do that.        Your Honor has been generous with your

 6   time.

 7               But I think some of these same things came up in the

 8   Evergreen case, which we cite in our papers.            A confidentiality

 9   agreement is not necessarily an answer.          We could do the same

10   thing with donors.       We could do the same thing with the writers,

11   and the commentary contributors.

12               THE COURT:    But they are not looking for that

13   information now.

14               MR. FRISCH:    But it shows that confidentiality is not

15   always the answer.

16               If they have a particular reason, I've invited them to

17   say it to me.     What is it you need with regard to these

18   non-related contractors?        Why is it important that you have that

19   information?

20               My only point, given the extra time Your Honor has

21   given me, is to highlight that as an issue here, which I think

22   is unresolved.     And I think that it requires more than them

23   saying, We want it, or we're entitled to it.            Why do you want

24   it?     Why are you entitled to it?

25               And this is not, you know, stonewalling the
      Case 1:22-cv-01337-FJS-CFH    Document 35-7   Filed 04/10/23   Page 33 of 36

     P R O C E E D I N G S                                                       32


 1   compliance.    We've given you all of the hardcopies.           I was on my

 2   way to going through all 40 gigabytes; I was too ambitious in

 3   setting a deadline.       Although, we were well on our way to

 4   completing that.

 5               This is the only issue, and they have not explained

 6   either why they need it or why we can't visit it later down the

 7   line after you've completed the rest of your investigation; it's

 8   a really serious problem.

 9               THE COURT:    Ms. Suvari, do you want to address that

10   question?

11               MS. SUVARI:    I would like to address that very quickly

12   if I can, Your Honor.

13               I don't think that is a fair presentation of what has

14   been done in VDARE's production to date, or the position that

15   our office has taken.

16               With respect to the question of why we need to see

17   complete financial records of this organization, the answer is

18   because that is the exact problem we're focused on here.              And

19   this is an organization, and, you know, the bases for this

20   concern is detailed in all of our papers to the Court.              This is

21   an organization that has already effectively conceded that there

22   are significant transactions moving internal assets from control

23   at VDARE into things, for example, like for-profit corporations

24   created by VDARE principals.

25               So the charitable assets are moving from VDARE into
      Case 1:22-cv-01337-FJS-CFH   Document 35-7   Filed 04/10/23   Page 34 of 36

     P R O C E E D I N G S                                                      33


 1   something that is no longer a charitable entity; and that is run

 2   by the current VDARE president exclusively.

 3               So it is impossible for us to conduct a meaningful

 4   review when we are being given records that are very heavily

 5   redacted, far beyond -- You know, in listening to this

 6   presentation today I think you could get the sense that we are

 7   getting complete disclosure except for particular names, and

 8   that is absolutely not the case.      The December 2nd letter from

 9   our office makes that clear, we are getting material that has --

10   you know, that is blacked out, it's entirely blocked out on

11   certain pages, there are hundreds of pages with redactions that

12   are falling on things like credit card statements, bank account

13   statements for accounts held by VDARE's principals personally,

14   not by VDARE, not related to contractors.

15               So the sense that we are down to one particular

16   category of information I think is not accurate.           And that is

17   part of why we have been pressing in the way that we have for a

18   more specific showing from VDARE in the form of a redaction log

19   that would allow us to actually evaluate what they are saying

20   about the material that they are trying to withhold, and the

21   bases for withholding it.     So I just want to make sure that

22   that's clear on today's record.

23               THE COURT:   So you disagree with Mr. Frisch's

24   characterization that the only thing that has been redacted is

25   the names of unrelated contractors?
      Case 1:22-cv-01337-FJS-CFH      Document 35-7   Filed 04/10/23   Page 35 of 36

     P R O C E E D I N G S                                                         34


 1               MS. SUVARI:    We are, Your Honor.

 2               And we have said that to VDARE in our letter exchanges

 3   with him.

 4               MR. FRISCH:    Okay.     And I dispute that, Your Honor.

 5               THE COURT:    Okay.     And the 600 pages -- I don't know

 6   why I'm asking, but the 600 pages is not attached anywhere as an

 7   exhibit to what's been filed; correct?

 8               MS SUVARI:    Which 600 pages are you referring to?              You

 9   mean the redacted pages?

10               THE COURT:    Yes.

11               MS. SUVARI:    No, we have not submitted samples from

12   their hardcopy production.

13               THE COURT:    All right.     Thank you both for your

14   arguments, I appreciate them.         I am going to reserve decision.

15               If you could upload and/or e-mail those additional

16   documents by the end of the day, I would greatly appreciate it.

17               MR. FRISCH:    Your Honor, I have to leave.           I have a

18   court appearance in the Brooklyn Federal Court in the afternoon.

19   So if I could have until tomorrow to submit --             I think what

20   Your Honor wants is what a proposed order would look like if you

21   order enforcement, and I can do that.

22               If Your Honor will permit, I can do it by the close of

23   business tomorrow.

24               THE COURT:    All right, that's fine.

25               MR. FRISCH:    Thank you.
      Case 1:22-cv-01337-FJS-CFH   Document 35-7       Filed 04/10/23   Page 36 of 36
                                                                                    35


 1             MS. SUVARI:     Thank you, Your Honor.           Bye-bye.

 2                         *       *       *       *

 3             The foregoing is hereby certified to be a true and

 4   accurate transcript of the proceedings as transcribed from the

 5   stenographic notes.

 6                             *       *       *        *

 7

 8                         __________________________
                                        LORETTA KRAVCHENKO
 9                                      SENIOR COURT REPORTER

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
